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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

VEROBLUE FARMS USA, INC.,             §
   Plaintiff                          §
                                      §
 v.                                   §      CIVIL ACTION NO. 3:19-CV-00764-L
                                      §
LESLIE A. WULF, ET AL.,               §
   Defendants                         §



PLAINTIFF VEROBLUE FARMS USA INC.’S MOTION TO COMPEL DISCOVERY
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        Plaintiff VeroBlue Farms USA Inc. (“VBF”) moves to compel Defendants Leslie A. Wulf,

Bruce A. Hall, James Rea, and John E. Rea, (the “Responding Founders”) (the Responding

Founders, together with Keith Driver, the “Founders”) to produce documents responsive to

Plaintiff’s First Request for Production of Documents and to provide full responses to Plaintiff’s

First Set of Interrogatories.

                                   I.      SUMMARY OF ARGUMENT

        In three short years, the Founders of VBF squandered tens of millions of dollars others

invested into the company and drove VBF into bankruptcy, all while draining the company of cash

and assets for their own benefit, as well as the benefit of their family members and other entities

that they owned or controlled. After discovering the wrongful actions of the Founders, VBF filed

this lawsuit to recover damages from the Founders for the harm they caused. In this lawsuit, VBF

asserts claims for breach of fiduciary duty and an equitable accounting to account for funds

distributed from VBF, among other claims.

        Through written discovery, VBF requested that the Founders provide certain information

directly related to these allegations and claims of wrongful conduct, including misappropriation,

corporate waste, and squandering of VBF’s assets to benefit themselves, their family members,

and their affiliated entities. Remarkably, the Responding Founders have objected to these requests

as seeking “irrelevant” information. These relevance objections are wholly without merit, and

VBF respectfully requests that this Court overrule the Responding Founders’ relevance objections

and compel the Responding Founders to produce responsive documents and sufficient answers to

the following requests for production and interrogatories:

        First Request for Production of Documents to Defendants Nos. 5, 6, 8, 9, 81

        First Set of Interrogatories to Leslie Wulf Nos. 1, 3, 4, 13, 16




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           First Set of Interrogatories to Bruce Hall Nos. 1, 2, 3, 20

           First Set of Interrogatories to James Rea Nos. 1, 2, 3, 17, 18

           First Set of Interrogatories to Ted Rea Nos. 1, 2, 3, 4, 17, 22

                                                  II.      BACKGROUND

           Factual Background

           The Founders founded VBF, a sustainable fish farm business, in 2014. See Amended

Complaint (“Compl.”) (Dkt. 9) ¶¶ 11-12; see also Proposed Second Amended Complaint (“SAC”)

(Dkt. 102-1) ¶ 1.1 The Founders did not invest any of their own money into VBF, but between

2014 and early 2018, when the last of the Founders was terminated by VBF, the Founders had

misappropriated or otherwise squandered over $90,000,000 in debt and equity invested by others.

See Compl. ¶ 41; see also SAC ¶ 1.

           As detailed in the Amended Complaint, VBF, at the Founders’ direction, sunk millions of

dollars into what the Founders knew to be a losing proposition, to the benefit of the Founders and

to the detriment of VBF. VBF’s current claims against the Founders for their wrongful conduct

and gross misuse of VBF assets include: (1) breach of fiduciary duty, (2) fraudulent concealment,

(3) fraudulent misrepresentation, (4) constructive fraud, (5) civil conspiracy, (6) aiding and

abetting, (7) unjust enrichment, (8) equitable accounting, and (9) declaratory judgment. See

Compl. ¶¶ 43-85. In addition, VBF alleges that the Founders violated their fiduciary duties by,

mismanaging VBF, including but not limited to, presenting highly flawed and intentionally

manipulated business plans, mismanaging technology, mismanaging capital expenditures, and

mismanaging other financial and operational issues. See, e.g., Compl. ¶ 41.2



1
    Plaintiff’s Motion for Leave to file its second amended complaint is still pending. (Dkt. 102).
2
 In the SAC, VBF also asserts claims against the Founders and the other Defendants of (10) & (11) violations of the
Uniform Voidable Transfer Act (under Iowa law), (12) actual fraudulent transfer (under Texas law), (13) constructive


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           Procedural Background

           On February 26, 2019, VBF served its first set of discovery requests on the Responding

Founders: (1) First Request for Production of Documents to Defendants (the “Document

Requests”); (2) First Set of Interrogatories to each of the Responding Founders (collectively, the

“Interrogatories,”          individually     referred     to   as,   the    “Hall     Interrogatories;”       “Wulf

Interrogatories;” “T. Rea Interrogatories;” and “J. Rea Interrogatories”); and (3) First

Request for Admission of Fact to each of the Founders (collectively, the “Requests to Admit”).

On April 4, 2019, the Responding Founders served joint objections and responses to the Document

Requests3 and each served responses and objections to the Requests to Admit.4 On April 9, 2019,

the Responding Founders served their responses to the Interrogatories.5

           On April 15, 2019, counsel for VBF and the Responding Founders participated in a meet

and confer teleconference regarding the Responding Founders’ discovery responses and document

production, including deficiencies in the Responding Founders’ interrogatory responses.

           By letter dated July 2, 2019, VBF’s counsel informed Responding Founders of unresolved

deficiencies in the Responding Founders’ discovery responses and document production.6

Specifically, VBF’s counsel raised, inter alia, issues with the Responding Founders’ relevance


fraudulent transfer (under Texas law), (14) rescission and declaratory judgment relating to Hall, Driver, and Ted Rea’s
termination agreements, (15) declaratory judgment relating to James Rea’s employment agreement, (16) rescission
relating to James Rea’s employment agreement, (17) rescission relating to Wulf’s separation agreement, (18)
declaratory judgment relating to Wulf’s separation agreement, (19) restitution relating to Hall, Ted Rea, and Driver’s
termination agreements and Wulf’s separation agreement, (20) and violations of the Racketeer Influenced and Corrupt
Organizations Act (“RICO”). SAC ¶¶ 255-288, 309-357, 400-434.
3
 Attached hereto as Exhibit A is a true and correct copy of the Responding Founders’ responses to the Document
Requests.
4
  Attached hereto as Exhibits B–E are true and correct copies of the Responding Founders’ responses to the Requests
to Admit.
5
  Attached hereto as Exhibits F–I are true and correct copies of the Responding Founders’ responses to the
Interrogatories.
6
    Attached as Exhibit J is a true and correct copy of the July 2, 2019 correspondence.



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objections to interrogatories and requests for production related to financial information and net

worth of the Responding Founders, their entities, and family members. Counsel discussed the

issues, and the Responding Founders’ counsel also responded by letter dated July 22, 2019.7

Despite these ongoing efforts to resolve the discovery disputes, the parties have not been able to

reach an agreement on the requests and issues discussed below.

                                        III.     ARGUMENT & AUTHORITIES

           Relevant Legal Standard

           The Federal Rules of Civil Procedure provide for broad discovery—parties are entitled to

discover any non-privileged matter relevant to any party’s claim or defense in proportion to the

case’s needs. See FED. R. CIV. P. 26(b)(1). To that end, when a party fails to answer a discovery

request, the requesting party may move to compel an answer. See FED. R. CIV. P. 37(a)(3). “An

evasive or incomplete disclosure, answer, or response must be treated as a failure to disclose,

answer, or respond.” FED. R. CIV. P. 37(a)(4).

           The burden is on “[t]he party resisting discovery [to] show specifically how each discovery

request is not relevant or [is] otherwise objectionable.” See McKinney/Pearl Rest. Partners, L.P.

v. Metro. Life Ins. Co., No. 3:14-CV-2498-B, 2016 WL 2997744, at *4 (N.D. Tex. May 25, 2016)

(citing McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990)).

           The Responding Founders’ objections to specific Document Requests should be
           overruled.

           In response to certain Document Requests seeking highly relevant information, the

Responding Founders all lodged relevancy objections. As set forth below, the Responding

Founders’ objections are without merit and should be overruled.




7
    Attached as Exhibit K is a true and correct copy of the July 22, 2019 correspondence.



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       1. Financial Information related to the Responding Founders
          Request for Production Nos. 5, 6, 8, and 9

       Even with the detailed allegations of their wrongful conduct, including corporate

mismanagement and waste of corporate assets, in the Amended Complaint (and in the SAC), the

Responding Founders refuse to produce their own financial information or information related to

the transfer of their assets. Specifically, VBF sought the following categories of documents from

the Responding Founders:

          Documents relating to their affiliated entities;

          Documents relating to bank accounts or accounts at other financial institutions at which
           Defendants, their affiliated entities, or their family have been named an account holder,
           had rights to withdraw funds, and/or did withdraw funds;

          Documents relating to Defendants’ income, including income tax returns; and

          Documents relating to title to property or real estate owned by Defendants or from
           which Defendants receive an income.

       The Responding Founders objected to each of these requests as seeking irrelevant

information and overbroad in that the requests seek personal and confidential information, and

refused to produce any documents in response to these requests.

       Despite their attempts to avoid production of the requested information, the Responding

Founders are improperly withholding information that is relevant to VBF’s claims and allegations

against the Responding Founders. The Responding Founders’ financial information (including

information regarding their affiliated entities, bank accounts, and real estate) goes directly to the

heart of VBF’s allegations in this lawsuit regarding their mismanagement and misappropriation of

VBF funds for the benefit of themselves, their families, or their affiliated entities, as well as VBF’s

accounting claim against the Responding Founders. See Compl. ¶¶ 14-39, 40-42, 80-82; see also

SAC ¶¶ 55, 56, 171-175, 233, 315, 333, 339, 342, 437-450.         VBF has alleged that the Founders



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squandered tens of millions of dollars from VBF over a period of about 3 years. See Compl. ¶ 41;

see also SAC ¶ 25. The Amended Complaint outlines several schemes involving the Founders

and their affiliated entities through which the Founders siphoned millions of dollars from VBF.

See Compl. ¶¶ 15-38; see also SAC ¶¶ 27–27, 28-31, 49-51. VBF is entitled to information that

may lead to the discovery of where those funds were transferred or spent, by whom, and for what

purpose. Further, information related to the Responding Founders’ affiliated entities is necessary

in order for VBF to determine the extent of the misappropriation and harm caused to VBF.

       In sum, VBF is entitled to information related to the financial position of the Responding

Founders, which includes information relating to any real estate or personal property, as well as

other information that may lead to the discovery as to where VBF’s corporate assets went, whether

directly to the Responding Founders or directed to the Responding Founders’ family members or

affiliated entities. See, e.g., In re Manion, No. 07-08-0318-CV, 2008 WL 4180294, at *3 (Tex.

App. Sept. 11, 2008) (holding that financial information was relevant and discoverable in action

alleging that defendant used his position for financial gain in violation of his fiduciary duties).

       Furthermore, any concerns that the Founders may have relating to the disclosure of

financial information obtained during discovery can be adequately safeguarded by the agreed

protective order recently issued in this case. See Dkt. 112.

       Accordingly, VBF requests that this Court overrule the Responding Founders’ unfounded

objections and compel the Responding Founders’ to produce the information requested.

       2. Documents relating to the Nelson Family or Randy Chalfant
          Request for Production No. 81

       VBF requested documents related to the Nelson family (including Grace Nelson, Mark

Nelson, Jeff Nelson, Korrine Nelson and/or Jerita Nelson) or Randy Chalfant (a former employee

of VBF), on the one hand, and the Responding Founders or their counsel, on the other hand. The



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Responding Founders objected that the request seeks irrelevant information and refused to produce

any documents.8

           This request seeks information that is relevant to this case because of the Nelsons’

involvement in the predecessor company to VBF, Iowa’s First, Inc. (“Iowa’s First”) and because

of the Nelsons’ continued involvement in VBF during the Responding Founders’ tenure. As

further explained in VBF’s Resistance to the Nelsons’ Motion to Quash Subpoenas or for

Protective Order (see Dkt. 44),9 the Nelsons are critical witnesses in this case.

           As background, VBF began when the Founders took over an existing aquaculture business

started by the Nelson family. The Nelson family started their aquaculture business, known as

Iowa’s First, in 2012. SAC ¶ 18. Effective December 31, 2014, the Nelsons sold their business

to VBF (incorporated by the Founders on September 5, 2014) through a transaction in which the

Nelsons and their wives retired $1,200,000 in debt and received stock in VBF. Id. In addition,

members of the Nelson family were also shareholders, including Grace Nelson, Mark Nelson, Jeff

Nelson, and Korrine Nelson. Further, after the purchase of Iowa’s First by the Founders, certain

Nelson family members became employees of VBF, including (i) Grace Nelson, who worked for

VBF as its Production Quality & Planning Manager; (ii) Mark Nelson, who worked as VBF’s

Director of Special Projects; and (iii) Jeff Nelson, who also worked in Special Projects. See Dkt.

44 at 3.

           During VBF’s early years, Mark Nelson promoted VBF and its technology, which

ultimately proved to be an utter failure. The Founders misrepresented this technology to investors


8
  The Responding Founders also objected to this request “to the extent it seeks” privileged communications. Counsel
for the Responding Founders has represented that they will be providing a privilege log on August 23. As a result,
VBF will address the privilege assertion separately after review of the privilege log.
9
 The Nelsons have since withdrawn their Motion to Quash Subpoenas or for a Protective Order, and it is no longer
pending before this Court. See Dkts. 86, 89.



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and others. Mark Nelson also has significant other information about the Founders’ fraud. For

example, Mark Nelson’s daughter, Kelsey Clarken, submitted an affidavit in which she

corroborated the Founders’ fraudulent hiring of Defendant Wulf’s daughter, Christine Gagne, an

illegal alien improperly placed on VBF’s payroll, and Kelsey Clarken averred that Mark Nelson

knew all about this situation. Id. at 3; see also Compl. ¶¶ 29-32. Kelsey Clarken also corroborated

her father Mark Nelson’s knowledge about the Founders’ other businesses. Dkt. 44 at 3.

       Moreover, documents relating to Randy Chalfant are also relevant to VBF’s allegations

regarding the Founders’ waste and mismanagement of VBF funds. Chalfant was the maintenance

manager for VBF from October 2016 to October 2018, and may be able testify to the Founders’

purchase of various properties on behalf of VBF, unnecessary and excess equipment (e.g., tractor-

trailers and company vehicles), unnecessary travel expenses, as well as the Founders’ attempt to

overbuild VBF facilities. See Dkt. 25-1 at 4.

       VBF is entitled to information that may lead to the discovery of the extent of the

misappropriation and fraud perpetrated by the Founders while they were in control of VBF.

Documents related to the Nelsons and Chalfant are necessary in order for VBF to determine the

extent of the misappropriation and harm caused to VBF. Accordingly, VBF requests that this

Court enter an order overruling the Responding Founders’ objections and compelling the

Responding Founders to produce all documents responsive to Request for Production No. 81.

       Wulf’s Insufficient Interrogatory Responses

       As set forth below, VBF requests that this Court enter an ordering overruling Wulf’s

objections to certain interrogatories and compelling Wulf to respond adequately to certain

interrogatories.




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       1. Wulf’s objections to financial interrogatories should be overruled.
          Wulf Interrogatory Nos. 1, 4, 13, and 16

       Similar to the requests for production, VBF served specific interrogatories seeking

information regarding Wulf’s finances, including information that could show where VBF’s

corporate assets went (including to Wulf’s family members, trust accounts, affiliated entities, and

related professionals) and the extent of the misappropriation and other wrongful conduct by Wulf,

including through his affiliated entities and related professionals.            Specifically, VBF’s

interrogatories ask Wulf to identify or state the following:

                  All Defendants’ affiliated entities;

                  All real estate owned by Defendant, any member of Defendants’ family; and/or
                   any of Defendants’ affiliated entities;

                  All professionals who have performed any services for Defendant, any member
                   of Defendants’ family; and/or any of Defendants’ affiliated entities;

                  All entities (including trusts) in which Defendants, any member of Defendants’
                   family; and/or any of Defendants’ affiliated entities owns a beneficial or
                   equitable interest, is serving as a trustee, or by which Defendant has been
                   employed or compensated.

Wulf objected to each of these interrogatories as seeking irrelevant and confidential/personal

information and refused to respond.

       As with the related Document Requests discussed above, the information sought in each of

these interrogatories goes directly to at least VBF’s claims that the Defendants misappropriated

and wasted VBF corporate funds and used VBF funds for the benefit of themselves, their families,

or their affiliated entities, which would include through trust accounts or paid professionals as well

as to VBF’s accounting claim against the Responding Founders. See Compl. ¶¶ 14-39, 40-42, 80-

82; see also SAC ¶¶ 55, 56, 171-175, 233, 315, 333, 339, 342, 437-450.           In other words, the

information is highly relevant to this case. And, any concerns that the Founders may have relating



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to the disclosure of financial information obtained during discovery can be adequately safeguarded

by the agreed protective order recently issued in this case. See Dkt. 112.

       Therefore, Wulf’s relevance objections to Interrogatory Nos. 1, 4, 13, and 16 should be

overruled, and this Court should compel Wulf to respond to each of these interrogatories.

       2. Wulf’s objections to providing information on compensation paid by VBF to
          Wulf’s family should be overruled.
          Wulf Interrogatory No. 3

       VBF asked Wulf to identify all amounts that Defendants’ Family, including Christine

Gagne, received from VBF. In response, Wulf provided information of compensation paid by

VBF to him, but he failed to identify any amounts that Christine Gagne or any other family member

received from VBF.

       Wulf does not get to avoid responding to an interrogatory by asserting that the interrogatory

seeks personal information about him or his family members. Wulf was involved in a fraudulent

scheme of misappropriating and squandering funds for the benefit of himself and his family. See

Compl. ¶ 39. As alleged in the SAC, Wulf caused VBF to pay his daughter, Defendant Gagne,

over $50,000 in compensation and benefits. See SAC ¶¶ 42-45. In doing so, Wulf caused VBF to

pay Gagne under a false name—“Ronnie O’Brien”—to conceal VBF’s payments to her. Id. ¶ 43.

       Further, this interrogatory does not seek “personal” information, as Wulf suggests. And

even if this Court finds that compensation paid by the Plaintiff is personal information, any

concerns Wulf has about protecting the confidentiality of such information are appropriately

addressed under the protective order issued by the Court. See Dkt. 112. This interrogatory is

tailored to obtain information of other payments VBF made to him or his family members and

directly relevant to VBF’s accounting claim. See, e.g., Compl. ¶ 39, 80-82.




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       VBF requests that this Court compel Wulf to fully and adequately respond to Interrogatory

No. 3 with all information reasonably available to him. See Areizaga v. ADW Corp., 314 F.R.D.

428, 437 (N.D. Tex. 2016), No. 3:14-cv-2899-P (N.D. Tex. April 4, 2016).

       Hall’s Insufficient Interrogatory Responses
       Hall Interrogatory Nos. 1, 2, 3, and 20

       VBF requests that this Court enter an ordering overruling Hall’s relevancy objections to

certain interrogatories. Specifically, VBF’s interrogatories ask Hall to identify or state the

following:

                  All Defendants’ affiliated entities;

                  All banks or other financial institutions at which Defendants, their affiliated
                   entities, or their family have been named an account holder, had rights to
                   withdraw funds, and/or did withdraw funds;

                  All real estate owned by Defendant, any member of Defendants’ family; and/or
                   any of Defendants’ affiliated entities; and

                  All entities (including trusts) in which Defendants, any member of Defendants’
                   family; and/or any of Defendants’ affiliated entities owns a beneficial or
                   equitable interest, is serving as a trustee, or by which Defendant has been
                   employed or compensated.

       Like Wulf, Hall also objected to each of these interrogatories as seeking irrelevant and

personal, confidential information and refused to respond to these interrogatories.

       As discussed in detail above, this information is highly relevant to VBF’s claims of

wrongdoing, including misappropriation and waste of corporate assets. See Compl. ¶¶ 14-39, 40-

42, 80-82; see also SAC ¶¶ 55, 56, 171-175, 233, 315, 333, 339, 342, 437-450. Any concerns

regarding protecting personal, confidential information are appropriately addressed by the

protective order issued by the Court. Dkt. 112. This Court should, therefore, overrule Hall’s

objections and enter an order compelling Hall to respond to Interrogatory Nos. 1, 2, 3, and 20.




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        James Rea’s Insufficient Interrogatory Responses
        James Rea Interrogatory Nos. 1, 2, 3, 17, and 18

        VBF requests that this Court enter an ordering overruling James Rea’s objections to certain

interrogatories and compelling James Rea to adequately respond to certain interrogatories.

Specifically, VBF’s interrogatories ask James Rea to identify or state the following:

                     All Defendants’ affiliated entities;

                     All banks or other financial institutions at which Defendants, their affiliated
                      entities, or their family have been named an account holder, had rights to
                      withdraw funds, and/or did withdraw funds;

                     All real estate owned by Defendant, any member of Defendants’ family; and/or
                      any of Defendants’ affiliated entities; and

                     Communications between any member of the Nelson family (Grace Nelson,
                      Mark Nelson, Jeff Nelson, Korrine Nelson and/or Jerita Nelson) or Randy
                      Chalfant (a former employee of VBF), on the one hand, and the Responding
                      Founders or their counsel on the other.

Like the other Responding Founders, James Rea also objected to each of these interrogatories as

seeking irrelevant and personal, confidential information.10 As discussed in detail above, this

information is highly relevant to VBF’s claims of wrongdoing, including misappropriation and

waste of corporate assets. See Compl. ¶¶ 14-39, 40-42, 80-82; see also SAC ¶¶ 55, 56, 171-175,

233, 315, 333, 339, 342, 437-450. Any concerns regarding protecting personal, confidential

information are appropriately addressed by the protective order issued by the Court. Dkt. 112.

        This Court should, therefore, overrule James Rea’s objections and enter an order

compelling him to respond to Interrogatory Nos. 1, 2, 3, 17, and 18.




10
   As to Interrogatory Nos. 17 and 18, James Rea also asserted the attorney-client privilege, work product doctrine,
and/or common interest privilege. Counsel for the Responding Founders has represented that they will be providing
a privilege log on August 23. As a result, VBF will address the privilege assertion separately after review of the
privilege log.



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       Ted Rea’s Insufficient Interrogatory Responses

       VBF requests that this Court enter an ordering overruling Tea Rea’s objections to certain

interrogatories and compelling Ted Rea to adequately respond to certain interrogatories.

       1. Ted Rea’s objections to financial interrogatories should be overruled.
          Interrogatory Nos. 1, 2, 3, 17, and 22

       VBF requests that this Court enter an ordering overruling Ted Rea’s relevancy objections

to certain interrogatories. Specifically, VBF’s interrogatories ask Ted Rea to identify or state the

following:

                  All Defendants’ affiliated entities;

                  All banks or other financial institutions at which Defendants, their affiliated
                   entities, or their family have been named an account holder, had rights to
                   withdraw funds, and/or did withdraw funds;

                  All real estate owned by Defendant, any member of Defendants’ family; and/or
                   any of Defendants’ affiliated entities;

                  All professionals who have performed any services for Defendant, any member
                   of Defendants’ family; and/or any of Defendants’ affiliated entities; and

                  Names of any trusts to which any Defendant, Defendant’s affiliated entities, or
                   any member of Defendants’ family is a trustee or beneficiary.

Like the other Responding Founders, Ted Rea objected to each of these interrogatories as seeking

irrelevant and personal, confidential information. As discussed in detail above, this information

is highly relevant to VBF’s claims of wrongdoing, including misappropriation and waste of

corporate assets. See Compl. ¶¶ 14-39, 40-42, 80-82; see also SAC ¶¶ 55, 56, 171-175, 233, 315,

333, 339, 342, 437-450. Any concerns regarding protecting personal, confidential information are

appropriately addressed by the protective order issued by the Court. Dkt. 112. This Court should,

therefore, overrule Hall’s objections and enter an order compelling Hall to respond to Interrogatory

Nos. 1, 2, 3, 17, and 22.



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        2. Ted Rea’s objections to providing information on compensation he received from
           any Sheriff Entities should be overruled.
           Interrogatory No. 4

        Rick Sheriff allegedly sold the Founders the rights to the “Opposing Flows Technology”

that the Founders fraudulently promoted. Sheriff also allegedly worked for VBF in its early years

as its “Chief Technology Officer.” VBF’s interrogatory asked Ted Rea to identify all amounts that

he received from any “Sheriff Entities,” which is defined as “one or more entities in which Rick

Sheriff has held or holds a direct or indirect beneficial, equitable or other legal interest or is an

employee, manager, director or owner including but not limited to, RL Sheriff Custom

Contracting, Inc.” Ted Rea objected on the basis that the interrogatory sought information not

relevant to this case.

        Subject to his relevance objection, Ted Rea provided some information, but the information

is vague and confusing. Specifically, Mr. Rea stated that he has “not received any payments from

the Sheriff Entities. Sheriff did loan funds to Bajjer to pay off a loan on behalf of SSi to Green

Bank in November 2016. Bajjer carries a note receivable from SSi for this loan payoff and Bajjer

owes Sheriff for this payoff, but T. Rea did not receive any of these funds.” Ex. H at No. 4.

        As a result, VBF requests that this Court enter an order compelling Ted Rea to provide full

and adequate information in response to this interrogatory. Specifically, Ted Rea should provide

additional information relating to “SSi,” including (i) an explanation as to why Sheriff loaned

funds to Bajjer to pay off a loan on behalf of SSi to Green Bay; (ii) a description of SSi; (iii) a

description of what the loan to Green Bay was for; (iv) why Bajjer paid off the loan; and (v) any

other relevant details that clarify the response.

        VBF requests that this Court compel Ted Rea to fully and adequately respond to

Interrogatory No. 4.




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                                          IV.     CONCLUSION

       Therefore, Plaintiff VBF respectfully requests that this Court overrule the Responding

Founders’ relevance objections and compel the Responding Founders to produce all responsive

documents within their possession, custody, or control and to fully respond to the interrogatories

for each of these requests: (1) First Request for Production of Documents to Defendants Nos. 5,

6, 8, 9, 81; (2) First Set of Interrogatories to Leslie Wulf Nos. 1, 3, 4, 13, 16; (3) First Set of

Interrogatories to Bruce Hall Nos. 1, 2, 3, 20; (4) First Set of Interrogatories to James Rea Nos.

1, 2, 3, 17, 18; and (5) First Set of Interrogatories to Ted Rea Nos. 1, 2, 3, 4, 17, 22.




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                             CERTIFICATE OF CONFERENCE

       Pursuant to Federal Rule of Civil Procedure 37(a)(1) and Northern District of Texas Local

Civil Rule 7.1, Plaintiff has in good faith conferred with Defendants Leslie A. Wulf, Bruce A.

Hall, James Rea, and John E. Rea in an effort to obtain the discovery the subject of this Motion to

Compel without court action. I certify that the parties conferred about the relief requested in this

motion as follows:

          On July 2, 2019, Plaintiff’s counsel sent a letter to counsel for Defendants Leslie A.
           Wulf, Bruce A. Hall, James Rea, and John E. Rea, identifying unresolved deficiencies
           in the their discovery responses and document production, including, but not limited to
           issues with their relevance objections to interrogatories and requests for production.

          On July 22, 2019, counsel for Defendants Leslie A. Wulf, Bruce A. Hall, James Rea,
           and John E. Rea sent a letter to Plaintiff’s counsel, in part, reasserting their original
           objections on the issues addressed in the Motion.

          On July 22, 2019, Plaintiff’s counsel had a telephone conference with counsel for
           Defendants Leslie A. Wulf, Bruce A. Hall, James Rea, and John E. Rea, during which
           counsel for both parties were unable to resolve the issues addressed in the Motion.

          On August 15, 2019, Plaintiff’s counsel e-mailed counsel for Defendants Leslie A.
           Wulf, Bruce A. Hall, James Rea, and John E. Rea, to confer on the outstanding
           discovery deficiencies the subject to this Motion.

          On August 15, 2019, counsel for Defendants Leslie A. Wulf, Bruce A. Hall, James Rea,
           and John E. Rea, confirmed that the parties had reached an impasse on the discovery
           deficiencies that are the subject of this Motion and that Plaintiff’s counsel may proceed
           with filing the instant Motion, subject to one issue (T. Rea Interrogatory No. 4) that
           may potentially be resolved by a supplemental production.


                                                     /s/ Nicole Williams
                                                     Nicole Williams




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                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing instrument was

served upon all counsel of record, as listed below, via email, on this 16th day of August 2019.

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                                                     /s/ Nicole Williams
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